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UNITED STATES DISTRICT COURT
ALBUQUERQUE, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT

SEP L4 2019

FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
Plaintiff,
vs.

ROBERT PADILLA, a.k.a. “Fat Head,”
ROSE ANN ROMERO,

JOHNATHAN VIGIL, a.k.a. “Lil John,”
ROBERT HOCKMAN, a.k.a. “Tony,”
MARCOS RUIZ, a.k.a. “Mark,”

LUIS SANCHEZ, a.k.a. “Payaso,”
ASHLEY ROMERO,

TOMAS SANCHEZ, a.k.a. “T.J.,”
AMANDA SILVA,

SERGIO VALDEZ,

GENEVIVE ATENCIO, and

JANAYA ATENCIO,

Defendants.

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MITCHELL R. ELFERS
CLERK

CRIMINAL NO. 14 7 A\\B WO

Count 1: 21 U.S.C. § 846: Conspiracy;

Count 2: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(A): Distribution of 50 Grams and More
of Methamphetamine;

Counts 3 and 6: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(C): Possession with Intent to
Distribute Fentanyl (N-phenyl-N-[1-(2-
phenylethyl)-4-piperidinyl] propanamide);

Count 4: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(C): Distribution of Fentanyl! (N-
phenyl-N-[1-(2-phenylethyl)-4-piperidiny]]
propanamide);

Counts 5, 15, and 16: 21 U.S.C.
§§ 841(a)(1) and (b)(1)(C): Distribution of
Cocaine;

Counts 7 and 13: 21 U.S.C. §§ 841(a)(1)
and (b)(1)(C): Possession with Intent to
Distribute Cocaine;

Count 8: 18 U.S.C. §§ 922(g)(1) and 924:
Felon in Possession of a Firearm and
Ammunition;

Count 9: 18 U.S.C. § 924(c): Using and
Carrying a Firearm During and in Relation to
a Drug Trafficking Crime, and Possessing a
Firearm in Furtherance of Such Crime;

Count 10: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(A): Possession with Intent to
Distribute 50 Grams and More of
Methamphetamine;

 
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Counts 11, 14, and 18: 21 U.S.C.
§§ 841(a)(1) and (b)(1)(C): Distribution of
Cocaine; 18 U.S.C. § 2: Aiding and Abetting;

Count 12: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(B): Possession with Intent to
Distribute 28 Grams and More of Cocaine
Base;

Count 17: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(A): Distribution of 280 Grams and
More of Cocaine Base; and

Count 19: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(B): Distribution of 28 Grams and
More of Cocaine Base, 18 U.S.C. § 2: Aiding
and Abetting.

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INDICTMENT

The Grand Jury charges:
Count |

From on or about September 17, 2018, and continuing to on or about September 10,
2019, in Bernalillo County, in the District of New Mexico, and elsewhere, the defendants,
ROBERT PADILLA, ROSE ANN ROMERO, JOHNATHAN VIGIL, ROBERT
HOCKMAN, MARCOS RUIZ, LUIS SANCHEZ, ASHLEY ROMERO, TOMAS
SANCHEZ, AMANDA SILVA, SERGIO VALDEZ, GENEVIVE ATENCIO, and
JANAYA ATENCIO, unlawfully, knowingly and intentionally combined, conspired,
confederated, agreed, and acted interdependently with each other and with other persons whose
names are known and unknown to the Grand Jury to commit offenses defined in 21 U.S.C. §
841(a)(1), specifically, distribution of controlled substances.

Quantity of Cocaine Involved in Conspiracy
With respect to ROBERT PADILLA, the amount involved in the conspiracy attributable

to him as a result of his own conduct, and the conduct of other conspirators reasonably

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foreseeable to him is 5 kilograms and more of a mixture and substance containing a detectable
amount cocaine, contrary to 21 U.S.C. § 841(b)(1)(A).

With respect to ROSE ANN ROMERO, JOHNATHAN VIGIL, ROBERT
HOCKMAN, MARCOS RUIZ, SERGIO VALDEZ, AMANDA SILVA, TOMAS
SANCHEZ, GENEVIVE ATENCIO, and JANAYA ATENCIO, the amount involved in the
conspiracy attributable to them as a result of their own conduct, and the conduct of other
conspirators reasonably foreseeable to them, is a mixture and substance containing a detectable
amount of cocaine, contrary to 21 U.S.C. § 841(b)(1)(C).

Quantity of Cocaine Base Involved in Conspiracy

With respect to ROBERT PADILLA, the amount involved in the conspiracy attributable
to him as a result of his own conduct, and the conduct of other conspirators reasonably
foreseeable to him is 280 grams and more of a mixture and substance containing a detectable
amount of cocaine base, contrary to 21 U.S.C. § 841(b)(1)(A).

With respect to ROSE ANN ROMERO, JOHNATHAN VIGIL, MARCOS RUIZ,
JANAYA ATENCIO, and GENEVIVE ATENCIO, the amount involved in the conspiracy
attributable to them as a result of their own conduct, and the conduct of other conspirators
reasonably foreseeable to them is 28 grams and more of a mixture and substance containing a
detectable amount of cocaine base, contrary to 21 U.S.C. § 841(b)(1)(B).

With respect to ASHLEY ROMERO, the amount involved in the conspiracy attributable
to her as a result of her own conduct, and the conduct of other conspirators reasonably
foreseeable to her is a mixture and substance containing a detectable amount of cocaine base,

contrary to 21 U.S.C. § 841(b)(1)(C).

 
 

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Quantity of Heroin Involved in Conspiracy

With respect to ROBERT PADILLA, the amount involved in the conspiracy attributable
to him as a result of his own conduct, and the conduct of other conspirators reasonably
foreseeable to him, is 1 kilogram and more of a mixture and substance containing a detectable
amount of heroin, contrary to 21 U.S.C. § 841(b)(1)(A).

With respect to ROSE ANN ROMERO, JOHNATHAN VIGIL, ASHLEY
ROMERO, and LUIS SANCHEZ, the amount involved in the conspiracy attributable to them
as a result of their own conduct, and the conduct of other conspirators reasonably foreseeable to
them, is a mixture and substance containing a detectable amount of heroin, contrary to 21 U.S.C.
§ 841(b)(1)(C).

Quantity of Fentanyl Involved in Conspiracy

With respect to ROBERT PADILLA, the amount involved in the conspiracy attributable
to him as a result of his own conduct, and the conduct of other conspirators reasonably
foreseeable to him, is 400 grams and more of a mixture and substance containing a detectable
amount of fentanyl (N-phenyl-N-[1-(2-phenylethy])-4-piperidinyl] propanamide), contrary to 21
U.S.C. § 841(b)(1)(A).

With respect to ROSE ANN ROMERO, the amount involved in the conspiracy
attributable to her as a result of her own conduct, and the conduct of other conspirators
reasonably foreseeable to her, is 40 grams and more of a mixture and substance containing a
detectable amount of fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide),
contrary to 21 U.S.C. § 841(b)(1)(B).

With respect to JOHNATHAN VIGIL, TOMAS SANCHEZ, and LUIS SANCHEZ,

the amount involved in the conspiracy attributable to them as a result of their own conduct, and

 
 

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the conduct of other conspirators reasonably foreseeable to them, is a mixture and substance
containing a detectable amount of fentanyl (N-phenyl-N-[1-(2-phenylethy])-4-piperidiny]]
propanamide), contrary to 21 U.S.C. § 841(b)(1)(C).

Quantity of Methamphetamine Involved in Conspiracy

 

With respect to ROBERT PADILLA, the amount involved in the conspiracy attributable
to him as a result of his own conduct, and the conduct of other conspirators reasonably
foreseeable to him, is a mixture and substance containing a detectable amount of
methamphetamine, contrary to 21 U.S.C. § 841(b)(1)(C).

In violation of 21 U.S.C. § 846.
Count 2

Beginning on or about September 12, 2018, and continuing until on or about September
17, 2018, in Bernalillo County and Sandoval County, in the District of New Mexico, the
defendant, ROBERT HOCKMAN, unlawfully, knowingly and intentionally distributed a
controlled substance, and the offense involved 50 grams and more of methamphetamine.

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A).

Count 3

On or about October 25, 2018, in Bernalillo County, in the District of New Mexico, the
defendant, ROBERT PADILLA, unlawfully, knowingly and intentionally possessed with intent
to distribute a controlled substance, and the offense involved a mixture and substance containing a
detectable amount of fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide).

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).

 
 

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Count 4
Beginning on or about October 17, 2018, and continuing until on or about November 8,
2018, in Bernalillo County, in the District of New Mexico, the defendant, ROBERT PADILLA,
unlawfully, knowingly and intentionally distributed a controlled substance, and the offense
involved a mixture and substance containing a detectable amount of fentanyl (N-phenyl-N-[1-(2-
phenylethyl)-4-piperidinyl] propanamide).
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 5
Beginning on or about October 17, 2018, and continuing until on or about November 8,
2018, in Bernalillo County, in the District of New Mexico, the defendant, ROBERT PADILLA,
unlawfully, knowingly and intentionally distributed a controlled substance, and the offense
involved a mixture and substance containing a detectable amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 6
Beginning on or about October 17, 2018, and continuing until on or about November 8,
2018, in Bernalillo County, in the District of New Mexico, the defendant, TOMAS SANCHEZ,
unlawfully, knowingly and intentionally possessed with intent to distribute a controlled substance,
and the offense involved a mixture and substance containing a detectable amount of fentanyl (N-
phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide).
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 7
Beginning on or about October 17, 2018, and continuing until on or about November 8,

2018, in Bernalillo County, in the District of New Mexico, the defendant, TOMAS SANCHEZ,
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unlawfully, knowingly and intentionally possessed with intent to distribute a controlled substance,
and the offense involved a mixture and substance containing a detectable amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 8

Between on or about November 22, 2018, and continuing until February 26, 2019, in San
Miguel County, in the District of New Mexico, the defendant, LUIS SANCHEZ, knowing that
he had been convicted of at least one crime punishable by imprisonment for a term exceeding
one year, specifically:

(1) unlawful taking of a motor vehicle (two counts),

(2) forgery (two counts),

(3) false imprisonment,

(4) battery on a peace officer (two counts), and

(5) aggravated stalking,
knowingly possessed a firearm and ammunition in and affecting interstate commerce.

In violation of 18 U.S.C. §§ 922(g)(1) and 924.

Count 9

Between on or about November 22, 2018, and continuing until February 26, 2019, in San
Miguel County, in the District of New Mexico, the defendant, LUIS SANCHEZ, during and in
relation to a drug trafficking crime for which the defendant may be prosecuted in a court of the
United States, specifically, conspiracy as charged in Count 1 of this indictment, knowingly used
carried a firearm, and in furtherance of such crime, possessed said firearm.

In violation of 18 U.S.C. § 924(c).
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Count 10
On or about January 8, 2019, in Sandoval County, in the District of New Mexico, the
defendant, ROBERT HOCKMAN, unlawfully, knowingly and intentionally possessed with
intent to distribute a controlled substance, and the offense involved 50 grams and more of
methamphetamine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A).
Count 11
On or about March 15, 2019, in Bernalillo County, in the District of New Mexico, the
defendants, ROBERT PADILLA and SERGIO VALDEZ, unlawfully, knowingly and
- intentionally distributed a controlled substance, and the offense involved a mixture and substance
containing a detectable amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2.
Count 12
On or about March 15, 2019, in Bernalillo County, in the District of New Mexico, the
defendant, ROBERT PADILLA, unlawfully, knowingly and intentionally possessed with intent
to distribute a controlled substance, and the offense involved a mixture and substance containing
28 grams and more of cocaine base.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B).
Count 13
On or about March 15, 2019, in Bernalillo County, in the District of New Mexico, the
defendant, MARCOS RUIZ, unlawfully, knowingly and intentionally possessed with intent to
distribute a controlled substance, and the offense involved a mixture and substance containing

cocaine.
 

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In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 14
On or about March 30, 2019, in Bernalillo County, in the District of New Mexico, the
defendants, ROBERT PADILLA and AMANDA SILVA, unlawfully, knowingly and
intentionally distributed a controlled substance, and the offense involved a mixture and substance
containing a detectable amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2.
Count 15
On or about April 1, 2019, in Bernalillo County, in the District of New Mexico, the
defendant, ROBERT PADILLA, unlawfully, knowingly and intentionally distributed a
controlled substance, and the offense involved a mixture and substance containing a detectable
amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 16
On or about April 10, 2019, in Bernalillo County, in the District of New Mexico, the
defendant, ROBERT PADILLA, unlawfully, knowingly and intentionally distributed a
controlled substance, and the offense involved a mixture and substance containing a detectable
amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 17
On or about April 10, 2019, in Bernalillo County, in the District of New Mexico, the
defendant, ROBERT PADILLA, unlawfully, knowingly and intentionally distributed a

controlled substance, and the offense involved a 280 grams and more of a mixture and substance
 

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containing a detectable amount of cocaine base.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A).
Count 18
On or about July 11, 2019, in Sandoval County, in the District of New Mexico, the
defendants, ROBERT PADILLA, GENEVIVE ATENCIO, and JANAYA ATENCIO,
unlawfully, knowingly and intentionally distributed a controlled substance, and the offense
involved a mixture and substance containing a detectable amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2.
Count 19
On or about July 11, 2019, in Sandoval County, in the District of New Mexico, the
defendants, ROBERT PADILLA, GENEVIVE ATENCIO, and JANAYA ATENCIO,
unlawfully, knowingly and intentionally distributed a controlled substance, and the offense
involved a 28 grams and more of mixture and substance containing a detectable amount of
cocaine base.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), and 18 U.S.C. § 2.

FORFEITURE ALLEGATION

 

Counts | through 7 and 10 through 19 of this indictment are incorporated as part of this
section of the indictment as if fully re-alleged herein for the purpose of alleging forfeiture to the
United States pursuant to 21 U.S.C. § 853.

Upon conviction of any offense in violation of 21 U.S.C. §§ 841 or 846, the defendants,
ROBERT PADILLA, ROSE ANN ROMERO, JOHNATHAN VIGIL, ROBERT
HOCKMAN, MARCOS RUIZ, LUIS SANCHEZ, ASHLEY ROMERO, TOMAS

SANCHEZ, AMANDA SILVA, SERGIO VALDEZ, GENEVIVE ATENCIO, and

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JANAYA ATENCIO, shall forfeit to the United States pursuant to 21 U.S.C. § 853 any
property constituting, or derived from, proceeds obtained, directly or indirectly, as a result of
each offense for which the defendant is convicted, and any property used, or intended to be used,
in any manner or part, to commit, or to facilitate the commission of the offense(s) of conviction.
The property to be forfeited to the United States includes, but is not limited to, the
following:
1. MONEY JUDGMENT
A sum of money equal to at least $46,000 in U.S. currency, including any interest
accruing to the date of the judgment, representing the amount of money derived from or involved
in the offense(s), or traceable to property involved in the offense(s), all of which only the
defendant, ROBERT PADILLA, is liable.
2. PERSONAL PROPERTY
a. A 2016 Chevrolet Corvette, with VIN# 1G1YB2D77G5105754, with New
Mexico license plate# 06178UNM; and
b. A 2011 Cadillac CTS, with VIN# 1G6DPS5ED8B0134136, with New
Mexico license plate# 26859UNM.
3. REAL PROPERTY
a. The real property located at 8407 San Juan Rd. NE, Albuquerque, NM
87108, containing approximately .18 acres and a residential home and
auxiliary structures; and
b. The real property located at 8411 San Juan Rd. NE, Albuquerque, NM
87108, containing approximately .18 acres and a residential home and

auxiliary structures.

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4. SUBSTITUTE ASSETS
If any of the above-described forfeitable property, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence,
b. has been transferred or sold to, or deposited with, a third party,
c. has been placed beyond the jurisdiction of the Court,
d. has been substantially diminished in value, or
e. has been commingled with other property which cannot be divided
without difficulty,
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), 18 U.S.C. § 982(b), and 28
U.S.C. § 2461(c), to seek forfeiture of any other property of the defendant up to the value of the

forfeitable property described above.

A TRUE BILL:

FOREPERSON OF THE GRAND JURY
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~ Assistant Unitke Stares Attorney
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